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                       UNITED ST ATES DISTRICT COURT                              JUL 1 0 2020
                       NORTHERN DISTRICT OF GEORGIA                          JAM'r, N. ~ TTEN, Clerk
                                                                            By:   y,Yn71t-Oeputy Clerk

IN RE: COURT OPERATIO NS UNDER
THE EXIGENT CIRCUMSTANCES                                      GENERAL ORDER 20-01
CREATED BY COVID-19 AND RELATED                                     Fifth Amendment
CORONA VIRUS

                                          ORDER

       General Order 20-01 , dated March 16, 2020, and amended by orders dated March

30, 2020; April 30, 2020; May 26, 2020; and July 1, 2020, addresses Court operations for

the United States District Court for the Northern District of Georgia under the exigent

circumstances created by the spread of COVID-19. The Fourth Amendment to General

Order 20-01 , entered July 1, 2020, extended the time periods specified in the Order through

and including July 31 , 2020.

       Data from the Georgia Department of Public Health reflects that the average number

of new COVID-19 cases per day in the State of Georgia has increased and remains higher

than it was on March 16, 2020, when the Court originally entered General Order 20-01.

The total number of COVID-19 cases and deaths in Georgia continues to rise, and no

vaccine or cure is available to the general public. There has been no change to the

President's declaration of a national emergency under the National Emergencies Act (50

U.S.C. § 1601 et seq.) due to COVID-19 or to the findings of the Judicial Conference of

the United States that emergency conditions due to this national emergency have materially

affected and will materially affect the functioning of the federal courts generally.
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       As the adverse conditions giving rise to General Order 20-01 have not sufficiently

resolved for the Court to return to normal operations, IT IS HEREBY ORDERED that

General Order 20-01, as amended, is further amended to extend the time periods specified

therein through and including the date of August 30, 2020.

       IT IS FURTHER ORDERED that while there will be no civil or criminal jury

trials in any division of the Northern District of Georgia until after August 30, 2020, grand

jury proceedings may continue to be held, and summonses may be issued to prospective

jurors for proceedings scheduled to begin after August 30, 2020.

       IT IS FURTHER ORDERED that the time period of any continuance entered as

a result of this Order (whether that continuance causes a pre-indictment delay or a pre-trial

delay) shall be excluded under the Speedy Trial Act, 18 U.S.C. § 316l(h)(7)(A), as the

Court finds that the ends of justice served by taking that action outweigh the interests of

the parties and the public in a speedy trial. Absent further order of the Court or any

individual judge, the period of exclusion shall be from March 23, 2020, through and

including August 30, 2020. The Court may extend the period of exclusion as circumstances

may warrant. This Order and period of exclusion are incorporated by reference as a specific

finding under 18 U.S.C. § 316l(h)(7)(A) in the record of each pending case where the

Speedy Trial Act applies. See Zedner v. United States, 547 U.S. 489, 506-07 (2006). The

periods of exclusion in the Court' s prior orders on this subject, General Order 20-01 and

its subsequent amendments, are likewise incorporated by reference as a specific finding



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under 18 U.S.C. § 316l(h)(7)(A) in the record of each pending case where the Speedy Trial

Act applies.



       SO ORDERED this      _lQ__   day of July 2020.




                                    THOMAS W. THRASH, JR.
                                    CHIEF UNITED STATES DISTRICT JUDGE




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